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              UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF TEXAS
                     AUSTIN DIVISION


 Wendy Davis, et al.,

                         Plaintiffs,
                                                 Case No. 1:22-cv-00373-RP
 v.

 Mistie Sharp, et al.,

                         Defendants.


  MOTION TO DEFER CONSIDERING OR SUMMARILY DENY
   THE PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT
      On January 6, 2023, the plaintiffs filed a motion for summary judgment. See ECF

No. 75. The plaintiffs’ motion for summary judgment is premature, and the defend-
ants respectfully ask the Court to defer consideration of the motion until after the
Court rules on the defendants’ Rule 12(b)(1) and Rule 12(b)(3) motions, which have
been pending for more than four months, and after the defendants have had an op-
portunity to take discovery from the plaintiffs. See Fed. R. Civ. P. 56(d). In the alter-
native, the defendants ask the Court to summarily deny the plaintiffs’ motion for sum-
mary judgment because it fails to present any argument or evidence for Article III
standing, an issue on which the plaintiffs bear the burden of proof. See, e.g., TransUn-

ion LLC v. Ramirez, 141 S. Ct. 2190, 2207–08 (2021). Finally, the Court should
defer consideration of the motion for summary judgment until after this Court has
entered a scheduling order, as required by the local rules of this Court. See Local Rule
16(a) (“A scheduling order must be entered in every case except those exempted in
subdivision (b) of this rule.”).




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I.     T C S D C T P’
       M F S J U A I R O
       T D’ J A V O
     On September 8, 2022, the defendants moved to dismiss the plaintiffs’ claims for
lack of subject-matter jurisdiction and lack of venue. See ECF No. 63. The motion has
been fully briefed and is awaiting decision.
     The motion argues, among other things, that the plaintiffs lack Article III stand-
ing because: (1) The plaintiffs failed to allege facts to support Article III standing in
their complaint; (2) The plaintiffs lack standing to sue the defendants over section 3
of SB 8 because none of the defendants have ever had any intention of suing the
plaintiffs under SB 8; (3) The plaintiffs lack standing to sue the defendants over sec-
tion 3 of SB 8 because the plaintiffs have not alleged that they have violated the Texas

Heartbeat Act in the past or will violate the law in the future; (4) The plaintiffs lack
standing to sue the defendants over section 3 because the court cannot redress their
injuries, as other private litigants will sue the plaintiffs if they violate SB 8 even if the
named defendants are enjoined from doing so; and (5) The plaintiffs lack standing to
sue the defendants over section 4 of SB 8 because none of the defendants have any
intention of suing the plaintiffs under that provision.
     The motion also argues that the plaintiffs’ claims regarding section 3 of SB 8 are
moot because Texas has independently outlawed and criminalized all elective abor-
tions in the wake of Dobbs v. Jackson Women’s Health Organization, 142 S. Ct. 2228
(2022). That means the plaintiffs will not be able to resume activities prohibited by
SB 8 even if this Court were to enjoin its enforcement, because there are no longer
any abortion providers in Texas willing to perform the post-heartbeat abortions that
the plaintiffs wish to pay for.
     The motion also argues that the case should be dismissed for improper venue
because none of the defendants reside in the Western District of Texas, and none of
the events giving rise to the plaintiffs’ claims occurred in this district.



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      This Court must resolve the defendants’ jurisdictional and venue objections be-
fore considering the plaintiffs’ motion for summary judgment. See Lance v. Coffman,

549 U.S. 437, 439 (2007) (“Federal courts must determine that they have jurisdiction
before proceeding to the merits.”); Ruhrgas AG v. Marathon Oil Co., 526 U.S. 574,
577 (1999) (“[A] federal court may not hypothesize subject-matter jurisdiction for
the purpose of deciding the merits.”). The Court should therefore defer considering
the plaintiffs’ motion for summary judgment until after the defendants’ jurisdictional
and venue objections have been resolved.
      In addition, a ruling from this Court that grants the pending Rule 12(b)(1) or
12(b)(3) motion in whole or in part will moot at least some of the issues in the pend-
ing motion for summary judgment. It is abusive and a waste of time for the plaintiffs
to insist on forcing the defendants into spending time and resources responding to a
motion for summary judgment that may very well be mooted (in whole or in part) by
this Court’s ruling on the Rule 12(b)(1) and 12(b)(3) motion. More importantly, the
defendants cannot respond intelligently to the plaintiffs’ motion for summary judg-
ment without knowing what the Court thinks about the jurisdictional and venue ob-
jections that they have raised. The defendants also intend to take discovery from the
plaintiffs on these jurisdictional and venue issues if this Court denies either the Rule
12(b)(1) or the 12(b)(3) motion, and they must await a ruling from this Court on
those pending motions before negotiating a discovery plan with opposing counsel.

II.     T C S D C T P’
        M F S J U A T
        D H H A O F D
      The defendants have had no opportunity to take discovery from any of the plain-
tiffs. If this Court denies either the Rule 12(b)(1) or 12(b)(3) motions, then the
defendants intend to take discovery on: (1) Whether the plaintiffs can establish “injury
in fact” by showing that they have violated the Texas Heartbeat Act in the past, or by




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showing that they intend to violate the law in the future now that abortion is inde-
pendently criminalized by the state’s pre-Roe abortion ban, its post-Dobbs trigger law,

and the murder statute; (2) Whether and how the plaintiffs’ alleged injuries can be
“fairly traceable” to “allegedly unlawful conduct” undertaken by the defendants given
that each of the defendants has expressly disclaimed any intention of suing the plain-
tiffs under the Texas Heartbeat Act; and (3) Whether and how the relief that the
plaintiffs seek against the defendants is “likely” to redress the plaintiffs’ alleged injuries
given that others can sue the plaintiffs under the Texas Heartbeat Act even if the
defendants are enjoined from doing so. See Declaration of Jonathan F. Mitchell ¶¶ 6–
9 (attached as Exhibit 1). The defendants will also seek discovery on whether and to
what extent the “events or omissions giving rise to” the plaintiffs’ claims occurred in
the western district of Texas. See id. at ¶ 10; 28 U.S.C. § 1391(b)(2). The defendants
will want to depose each of the plaintiffs to ask how, exactly, they are suffering Article
III injury from anything that the defendants have done when none of the defendants
has ever threatened to sue them under SB 8 and none of the defendants has ever had
any intention of doing so. The plaintiffs will also want to take discovery from each of
the plaintiffs regarding the location of their alleged Article III injuries, so that the
defendants can demonstrate whether venue is appropriate in this district.
    The plaintiffs cannot deny the defendants discovery by filing a premature motion
for summary judgment. See Int’l Shortstop, Inc. v. Rally’s, Inc., 939 F.2d 1257, 1267
(5th Cir. 1991) (“[T]he district court in this case should have deferred ruling on the

motion for summary judgment until the necessary discovery was complete.”); Access
Telecom, Inc. v. MCI Telecommunications Corp., 197 F.3d 694, 720 (5th Cir. 1999)
(“When a party is not given a full and fair opportunity to discover information essen-
tial to its opposition to summary judgment, the limitation on discovery is reversible
error.”). The Court should defer considering the plaintiffs’ motion for summary judg-
ment until after discovery had concluded. See Fed. R. Civ. P. 56(d).


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III.    I T A, T C S S D T
        P’ M F S J B I F
        T P A A O E F A III
        S
      If the Court is unwilling to defer consideration of the plaintiffs’ motion, then it
should summarily deny it because the motion contains no argument or evidence for
Article III standing — an issue on which the plaintiffs’ bear the burden of proof. See
Carney v. Adams, 141 S. Ct. 493, 499 (2020) (“[P]laintiff bears the burden of prov-
ing standing”); TransUnion LLC v. Ramirez, 141 S. Ct. 2190, 2207–08 (2021) (“As

the party invoking federal jurisdiction, the plaintiffs bear the burden of demonstrating
that they have standing.”). The plaintiffs cannot assume Article III standing and pro-
ceed directly to the merits. See Steel Co. v. Citizens for a Better Environment, 523 U.S.
83, 94 (1998) (rejecting the doctrine of hypothetical jurisdiction). The plaintiffs
know full well that the defendants are contesting Article III standing, and they know
that the defendants have submitted sworn declarations denying the existence of trace-
ability and redressability under Article III. See Sharp Decl., ECF No. 63-4; Weldon
Decl., No. 63-5; Maxwell Decl., ECF No. 63-6. For the plaintiffs to file a motion for
summary judgment that does not even attempt to demonstrate or present an argu-
ment for Article III standing in the face of these sworn declarations is an affront to
the Court.

IV.     T C S D C O T M F
        S J U A T A S O I
        E I A W L R 
      The motion for summary judgment is premature for yet another reason: The
Court has not entered a scheduling order, as required by Local Rule 16(a). See Local
Rule 16(a) (“A scheduling order must be entered in every case except those exempted
in subdivision (b) of this rule.”). Rule 16(b) lists the cases that are exempt from this
requirement, but lawsuits challenging the constitutionality of abortion statutes are
not the list. Litigants in the western district of Texas do not get to file motions for



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summary judgment whenever they want. They must do so according to an orderly,
court-approved schedule that is issued after a Rule 26(f) conference and after the

parties have submitted their proposed scheduling orders to the Court. Litigants chal-
lenging abortion statutes do not get special dispensations from these rules.

V.     T I N J F T P T F-T
       T C T F J
     There is no conceivable justification for the plaintiffs to insist on barreling this
case toward summary judgment while the defendants await a ruling from this Court
on their jurisdictional and venue objections. The plaintiffs are not facing any type of
emergency that warrants immediate relief from this Court. They were also content to
wait until November 15, 2022, to file their renewed motion for summary judg-
ment — more than four months after they withdrew their previous motion for sum-
mary judgment in response to Dobbs. And they have made no claim that they will be
prejudiced by postponing consideration of a motion for summary judgment that they
took more than four months to submit.

                                  CONCLUSION
     The Court should defer consideration of the plaintiffs’ motion for summary judg-
ment, or it should summarily deny the motion.

                                             Respectfully submitted.

                                              /s/ Jonathan F. Mitchell
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 Dated: January 19, 2023                     Counsel for Defendants




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                    CERTIFICATE OF CONFERENCE
    I have conferred with Rupali Sharma, counsel for the plaintiffs, and she informed
me that the plaintiffs oppose this motion. We conferred in a good-faith attempt to

resolve this matter by agreement but were unable to reach agreement on the issues
discussed in this motion. See Local Rule CV-7(g).



                                           /s/ Jonathan F. Mitchell
                                          J F. M
                                          Counsel for Defendants




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                      CERTIFICATE OF SERVICE
   I certify that on January 19, 2023, I served this document through CM/ECF
upon:

S T                        M C. S
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                                      /s/ Jonathan F. Mitchell
                                     J F. M
                                     Counsel for Defendants




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